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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GO GLOBAL RETAIL LLC, Case No. 1:23-cv-07987-AS
Plaintiff, CIVIL ACTION
V.

DREAM ON ME INDUSTRIES, INC.,
and DREAM ON ME, INC.

Defendants.

MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS

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PRELIMINARY STATEMENT

The Amended Complaint filed by Plaintiff, Go Global, LLC (“Plaintiff”) does nothing to
cure the initial complaint’s inherent flaw that it was barred by an order of the bankruptcy court.
As such, Defendant, Dream on Me Industries, Inc., (“DOM”)! moves to dismiss the Amended
Complaint because it only adds irrelevant details and two unsupported new Counts. Plaintiff
should not be granted additional leave to file a Second Amended Complaint because it is clear
from both the original and Amended Complaint that (1) Plaintiff's claims are barred by a prior
order entered by a bankruptcy court, and (2) Plaintiff still does not sufficiently plead that DOM
did anything to cause it damages.

Plaintiff's initial Complaint was premised on allegations that DOM breached a Non-
Disclosure Agreement (“NDA”) by improperly using confidential and proprietary information
obtained from Plaintiff to successfully bid on the intellectual property assets of Buy Buy Baby
(“BBBY”) during a Section 363 sale after Bed Bath & Beyond, Inc. (“BB&B” or ‘Debtor’”) filed
for Chapter 11 bankruptcy. Plaintiffs Amended Complaint adds allegations that this alleged
breach has been continuing in nature but nevertheless circles back to DOM’s purchase of BBBY’s
intellectual property assets.

Although Plaintiff's Amended Complaint acknowledges that Plaintiff is aware that a
bankruptcy court approved the sale on July 11, 2023 (“Sale Order”), Plaintiff nonetheless
disregards the effect of the Sale Order. The Sale Order expressly provided, in relevant part, that

“all persons and entities .. . _are hereby . . . forever barred, estopped and permanently enjoyed

from asserting such claims against _any Purchaser Party [defined_as DOM] or its property

(including the Acquired Assets).” (emphasis added). On notice of this inherent flaw, Plaintiff

! Dream On Me, Inc. is improperly named in the Amended Complaint as it is not a legal entity
that can be sued and should therefore be dismissed.
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alleges nothing that disproves its preclusive effect, but instead adds immaterial allegations with
claims that are also barred because they are based on the same operative facts leading to the sale.

Distilled to their essence, the crux of Plaintiff's allegations are that there was collusion and
bad faith during the bankruptcy process—which are facts that the bankruptcy court expressly found
did not exist. Plaintiff's failure to timely object during the bankruptcy proceeding, or to timely
appeal the Sale Order, is fatal to that theory. As a matter of bankruptcy procedure, the bankruptcy
court thoroughly vetted all bidders (including DOM), ensured that notice of the sale hearing was
adequate to all parties, and allowed all parties an opportunity to object before it was final. DOM
argued in its initial motion to dismiss that the Complaint should be dismissed because the
bankruptcy court expressly found that DOM operated in good faith prior to it approving the sale.
In the Amended Complaint, Plaintiff still ignores the fair and court-approved process by filing an
untimely appeal as a collateral attack questioning the reliability and sanctity of the Section 363
sale through this action.

Significantly, the Amended Complaint remains speculative as to what damages were
caused because Plaintiff fails to allege that it made a bid at the Section 363 sale or to explain why
it did not actively participate in the sale process. Devoid of these allegations, the Amended
Complaint fails to allege how Plaintiff would have been the successful bidder but for DOM’s bid
that allegedly breached the NDA. Said differently, if Plaintiff did not submit a bid, then logically
there were other bids for the BBBY assets, and those assets would have gone to the second highest
bidder if DOM had not bid. In re Bed Bath & Beyond, Inc., et al, Case No. 23-cv-13359-VFP
(Bankr. D.N.J. July 11, 2023). Therefore, Plaintiff cannot establish causation: if Plaintiff did not
submit a bid, Plaintiff would not have obtained the BBBY assets because the second highest bidder

would have received the BBBY assets.
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Moreover, Plaintiff is grasping for straws by adding additional causes of action sounding
in violations of federal law and misappropriation of trade secrets. Sadly, asserting those additional
counts does not demonstrate damages if those new claims are premised on the same operative facts
leading to the Section 363 sale which are barred by the Sale Order. Plaintiff simply takes another
road to the same exit. Accordingly, Plaintiff's Amended Complaint should be dismissed.

STATEMENT OF FACTS

A. Factual Background

This matter arises out of an NDA that Plaintiff believes expressly forbid DOM from
bidding on BBBY’s assets during a Section 363 sale after BB&B filed for Chapter 11 bankruptcy.
The Amended Complaint states that BBBY was a subsidiary of BB&B and that on April 23, 2023,
BB&B filed a voluntary petition for relief under Chapter 11 in the United States Bankruptcy Court
for the District of New Jersey (“Bankruptcy Court”). The Bankruptcy Court entered an Order on
July 11, 2023, approving the sale of BB&B’s acquired assets, and its subsidiaries, free and clear
of all liens, claims, and encumbrances (the “Bankruptcy Order” or “Sale Order”). It also approved
bidding procedures for the sale of both BB&B and BBBY. More specifically, the Bankruptcy
Court ordered an auction for BBBY’s intellectual property assets to be held on June 28, 2023, and
an auction for the remaining assets of BBBY to be held on June 29, 2023. Amended Complaint,
ECF No. 29, attached as Exhibit A to the Declaration of Jessica M. Carroll, Esq. submitted in
support of this motion.

Plaintiff's Amended Complaint alleges that it entered into the NDA with DOM to explore
ways to form a partnership for purposes of submitting a stalking horse bid for the assets of BBBY
jointly. Ultimately, DOM independently submitted a successful bid for BBBY’s intellectual
property assets. Significantly, Plaintiff did not submit a bid and did not object to or appeal the

Bankruptcy Order after DOM submitted its bid (i.e., the alleged breach) and the Bankruptcy Court

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approved the sale. Moreover, Plaintiff fails to allege how it suffered any damages resulting from
DOM’s bid since there were other bidders at the sale which would have acquired the BBBY assets
had DOM not bid at all. Jd.

Because the Amended Complaint refers to the July 11, 2023, court hearing whereby the
Bankruptcy Court approved the sale of BBBY’s intellectual property to DOM, the Bankruptcy
Order is incorporated in the Complaint by reference. Jd. at P 106; see also Order Approving Sale,
In re Bed Bath & Beyond, Inc., et al, Case No. 23-cv-13359-VFP (Bankr. D.N.J. July 11, 2023),
ECF No. 1314, attached as Exhibit B to the Declaration of Jessica M. Carroll, Esq. submitted in
support of this motion. The Bankruptcy Order authorized BB&B to enter into an asset purchase
agreement (“APA”) dated as of June 30, 2023. It defined the Purchaser as: Mark Srour-Serure,
Dream On Me Industries, Inc., Dream 545 Weston Canal Road, LLC (collectively referred to as
the “Purchaser”)?, and other signatory that “extend to and include (a) any designee of such
Purchaser...” /d. at Fn 2.

Notably, the Bankruptcy Court’s findings and conclusions protect DOM from subsequent
litigations arising out of and relating to its acquisition of the BBBY assets pursuant to the APA
and the bankruptcy proceeding. The “General Provisions” under Section I of the Bankruptcy Order
provides, in relevant part, that: (1) the findings and conclusions set forth therein constitute the
Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052; (2) that those
parties who did not object or withdrew their objections to the motion are deemed to have consented

pursuant to section 363(f)(2); and (3) that notice of the motion and sale hearing was adequate,

2 The Amended Complaint improperly identifies Dream On Me, Inc. as a Defendant. Dream on
Me, Inc. is not a legal entity and the actual purchaser of BBBY’s assets was Dream On Me
Industries, Inc.
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appropriate, fair and equitable under the circumstances, and complied in all respects with the
Bankruptcy Code, the Bankruptcy Rules, and the Bidding Procedures. Id. at § I, [PP 1-4.

Section II of the Bankruptcy Order, in turn, approved the APA and directed the parties to
take any and all action necessary or desirable to implement the transaction. Additionally, Section
II rendered the Sale Order, along with the terms and provisions of the APA, binding upon any
holders of claims, encumbrances, and interests in, against, or on all or any portion of the acquired
assets. Jd. at § I, PP 5-8.

Most significantly, Section IV of the Bankruptcy Order prohibits actions against the DOM
after having found that DOM operated in good faith throughout the sale process. Jd. at § III, Good
Faith of the Purchaser, PP H-I. Specifically, the Bankruptcy Order provides that “[n]either the
Debtor nor the Purchaser has engaged in any conduct that would cause or permit the APA or the
Transaction to be avoided...” Jd. Indeed, “[t]he Purchaser has proceeded in good faith in all
respects in connection with the Transaction.” Jd. Likewise, Paragraph 23 in Section IV of the
Bankruptcy Order found that the APA was entered into without collusion Jd. at § IV |P 23.

Section IV of the Bankruptcy Court’s holdings enumerate prohibitions of claims and
actions against DOM. Specifically, Paragraph 16 provides:

16. All persons and entities that are presently, or on the Closing Date

may be, in possession of some or all of the Acquired Assets to be sold, transferred,

or conveyed to or by the Purchase pursuant to the APA are hereby directed to

surrender possession of the Acquired Assets to the Purchaser on the Closing Date.

Subject to terms, conditions, and provisions of this Sale Order, all persons and

entities including, without limitation, the Debtors, creditors, employees, former

employees, shareholder, administrative agencies, tax and regulatory authorities,
governmental departments, secretaries of state, federal, state and local officials,
litigation claimants, and their respective successors and assigns, are hereby forever
prohibited and enjoined from taking any action that would adversely affect or
interfere with the ability of the Debtors to sell and/or transfer the Acquired Assets

to the Purchaser (or its designee) in accordance with the terms of the APA and this
Sale Order and are hereby forever barred, estopped and permanently enjoined

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from asserting such claims against any Purchaser Party or its property
(including the Acquired Assets).

Id. at § IV, P 16. (emphasis added). Additionally, Paragraph 22 provides:
22. Effective upon the Closing, all persons and entities are forever
prohibited and enjoined from commencing or continuing in any manner any

action or other proceeding, whether in law or equity, in any judicial,

administrative, arbitral, or other proceeding, against any Purchaser Party or

their respective assets (including, without limitation, the Acquired Assets), with

respect to any claim in the chapter 11 cases or in connection with or related to

the Transaction, the Debtors, or the Acquired Assets.

Id. at § IV, P 22.

Furthermore, the provisions memorialize that the Sale Order constitutes a final order within
the meaning of 28 U.S.C. § 158(a) and that the Bankruptcy Court found that the Federal Rules of
Civil Procedure “expressly directs entry of judgment as set forth” within the Bankruptcy Order.
Id. at § 1, PC and § IV, P 24.

B. Procedural Background

Plaintiff filed a four-count Complaint on September 14, 2023. Complaint, ECF No. 5. The
First Cause of Action alleged that DOM’s bid on BBBY’s intellectual property (which was
approved by the Bankruptcy Court on July 11, 2023) breached the parties’ NDA because DOM
failed to provide Plaintiff with written notice in advance of bidding. Jd. at PP 105-113. The Second
Cause of Action sought attorneys’ fees and costs pursuant to the NDA. Jd. at PIP 114-118. The
Third Cause of Action alleged unjust enrichment because DOM formulated its bid by allegedly
using Plaintiff's proprietary information that it accessed because of the NDA; the Fourth Cause of
Action sought a constructive trust over the BBBY assets DOM acquired, along with the revenues
and profits it earned, in connection with the Section 363 sale. Jd. at PIP 119-134.

DOM filed a Motion to Dismiss on November 21, 2023 (“MTD”) because Plaintiff's

allegations challenged the adequacy and reliability of the Bankruptcy Order as the final entry of
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judgment it ordered. See ECF No. 16. DOM also argued that Plaintiff did not suffer any damages
because Plaintiff's damages were speculative without a causal link to DOM’s alleged breach.

On December 22, 2023, Plaintiff amended the complaint to add two additional causes of
action and allege additional facts. Exhibit A. The additional facts allege that DOM’s behavior is
continuing in nature, that its behavior is resulting in continuing damages, and that DOM used
proprietary information to unjustly enrich itself and maximize the value of its purchase after
purchasing BBBY’s assets. Jd. at PP 119-125; Jd. at [PP 134-151. The additional two causes of
action relate to Plaintiff’ s proprietary forecasts, financial models, data, and strategy operating plans
that DOM purportedly misappropriated by violating the NDA and causing loss in profits, goodwill,
competitive advantage, and business opportunities. Specifically, the Fifth Cause of Action alleges
a violation of the Defend Trade Secrets Act (“DTSA”) and the Sixth Cause of Action alleges
common law misappropriation. None of these additional allegations or Counts correct the

deficiencies in Plaintiff's pleading.

LEGAL ARGUMENT

STANDARD OF REVEIW

A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) challenges the
legal sufficiency of the complaint. DW Last Call Onhore, LLC v. Fun Eats and Drinks LLC, 2018
WL 1470591, at *3 (S.D.N.Y. Mar. 23, 2018). Pursuant to Rule 12(b)(6), a district court may
dismiss the complaint if it does not contain sufficient factual matter to state a plausible claim on
its face. Ashcroft v. Iqbal, 556 U.S. 622, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.
544, 570 (2007)); Parnes v. Mast Prop. Invs., Inc., 776 F. Supp. 792, 795 (S.D.N.Y. 1991) (quoting
Goldman v. Belden, 754 F.2d 1059, 1065 (2d Cir. 1985)) (dismissal under Rule 12(b)(6) only if
“it appears ‘beyond a reasonable doubt that the plaintiff can prove no set of facts in support of his

claim which would entitle him to relief.’”). A district court will read the allegations generously,

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accepting “plaintiff's allegations of fact as true[,]” while drawing all reasonable inferences “in
favor of the party opposing the motion[,]” Parnes, 776 F. Supp. at 795; Papasan v. Allain, 478
U.S. 265, 283 (1986); Connolly v. Hanes, 763 F.Supp. 6, 9 (S.D.N.Y. 1991); Hill v, Sullivan, 125
F.R.D. 86, 90 (S.D.N.Y.1989) (“all allegations in plaintiffs' amended complaint must be accepted
as true and liberally construed.”); Todaro v. Orbit Int'l Travel, Ltd., 755 F. Supp. 1229, 1233
(S.D.N.Y. 1991) (in deciding motion to dismiss, court must limit analysis to four corners of
complaint and accept “plaintiff's allegations as true, together with such reasonable inferences as
may be drawn in his favor.”’).

While the district courts “are not permitted to consider factual matters submitted outside
of the Complaint{,]” it is within the district court’s discretion whether to exclude any additional
submissions or to convert the motion into one for summary judgment. Tagare v. NYNEX Network
Sys. Co., 921 F. Supp. 1146, 1149 (S.D.N.Y. 1996); Henschke v. New York Hosp.-Cornell Med.
Ctr., 821 F. Supp. 166, 168 (S.D.N.Y. 1993); Est. of Lennon by Lennon v. Screen Creations, Ltd.,
939 F. Supp. 287, 292 (S.D.N.Y. 1996) (motion will remain as one for dismissal rather than
summary judgment “where affidavits [are] scanty and inconclusive and would not assist court in
resolving motion as one for summary judgment.”). However, a court may consider “documents
attached to the complaint as exhibits, and documents incorporated by reference in the complaint], ]”
along with documents the complaint relies on for its terms to effectively render the document so
integral to the complaint that there is no dispute as to its authenticity and accuracy. DiFolco v.

MSNBC Cable LLC, 622 F.3d 104, 111 (2d Cir. 2010).
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POINT I

PLAINTIFF’S AMENDED COMPLAINT IS BARRED BY
THE BANKRUPTCY COURT’S JULY 11, 2023, ORDER
APPROVING THE SALE OF THE BBBY ASSETS TO DOM.

A. Plaintiff’s Amended Complaint is a Collateral Attack of the Sale Order.

Plaintiff's belated claims against DOM are an impermissible collateral attack on the Sale
Order and the claims in the Amended Complaint are barred under the Sale Order and res judicata.

The doctrine of res judicata precludes Plaintiff from relitigating issues that were or could
have been raised in the Bankruptcy Court before it entered the Sale Order, which was a final
judgment on the merits, because Plaintiff was in privity with the parties who bid at the Section 363
Sale. See Federated Dep’t Stores, Inc. v. Moitie, 452 U.S. 394, 398 (1981); Allen v. McCurry, 449
U.S. 90, 94 (1980). When determining whether res judicata will bar a subsequent action, a court
considers if “(1) the prior decision was a final judgment on the merits, 2) the litigants were the
same parties, 3) the prior court was of competent jurisdiction, and 4) the causes of action were the
same.” In re Layo, 460 F.3d 289, 292 (2d Cir. 2006) (quoting Corbett v. MacDonald Moving
Servs., Inc., 124 F.3d 82, 87-88 (2d Cir. 1997)). Additionally, the preclusive effect will depend on
“whether the same transaction or series of transactions is at issue, whether the same evidence is
needed to support both claims, and whether the facts essential to the second were present in the
first.” NLRB v. United Techs. Corp., 706 F.2d 1254, 1260 (2d Cir. 1983)).

Whether privity exists is “a functional inquiry in which formalities of legal relationships
provide clues but not solutions.” Chase Manhattan Bank, N.A. v. Celotex Corp., 56 F.3d 343, 346
(2d Cir. 1995). To establish privity, there must be a connection between the parties “such that the
interests of the nonparty can be said to have been represented in the prior proceeding.” Green v.
Santa Fe Indus., Inc., 514 N.E.2d 105, 108 (1987); Celotex Corp., 56 F.3d at 346 (federal doctrine

uses privity in similar way to use under New York law). Privity is determined by whether the

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party against whom res judicata is asserted had the same incentive as those who were parties to
the prior action so much that its interest was sufficiently similar enough to have been represented.
See generally id.

In the context of a bankruptcy proceeding, the Second Circuit determines whether res
judicata applies by analyzing “whether an independent judgment in a separate proceeding would
impair or destroy rights or interests established by the judgment entered in the first action.” Id. at
162. Brown Media Corp. v. K&L Gates, LLP, 854 F.3d 150, 162 (2d Cir. 2017) (recognizing that
res judicata “can be an awkward fit when applied to bankruptcy proceedings” because bankruptcy
proceeding is fundamentally different from a civil action)(citations omitted). A bankruptcy court
has jurisdiction to consider issues affecting the adjudication of claims that were “an essential part
of administering the estate” and “implicate the integrity of the entire bankruptcy process.” Jd. at
160; see generally Baker v. Simpson, 613 F.3d 346, 350 (2d Cir. 2010). As such, the Second
Circuit holds that res judicata bars a subsequent lawsuit filed by a plaintiff that failed to raise
issues that could have impaired or destroyed the rights or interests established by the bankruptcy
order or would have caused the bankruptcy court to structure a different disposition during the
bankruptcy proceeding had those issues and facts been known. Jd. at 162; Sure-Snap Corp. v.
State St. Bank and Tr. Co., 948 F.2d 869, 876 (2d Cir. 1991).

Here, Plaintiff's Amended Complaint is barred by res judicata because the Bankruptcy
Court entered a final judgment on the merits, the Bankruptcy Court had competent jurisdiction,
and Plaintiff could have asserted these claims during the bankruptcy proceeding. The Sale Order
explicitly states that it constitutes a final order and that the Bankruptcy Court expressly found no
reason preventing entry of the Sale Order. So, on July 11, 2023, the Bankruptcy Court approved

the sale of BB&B’s assets, along with BBBY’s assets to DOM, and set forth approved bidding

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procedures by ordering an auction of BBBY’s intellectual property. More specifically, the
Bankruptcy Order authorized BB&B to enter into an APA with DOM on June 30, 2023. Exhibit
B, ECF Doc. No.1314.

Included in the Sale Order are built in protections by the Bankruptcy Court that explicitly
prohibit subsequent actions such as this one against DOM. Specifically, Paragraph 16 provides

that “all persons and ... are hereby forever barred, estopped and permanently enjoined from

asserting such claims against any Purchaser Party or its property (including the Acquired

Assets). Jd. at § IV P16. (emphasis added). Additionally, Paragraph 22 provides that “all persons

and entities are forever prohibited and enjoined from commencing or continuing...any

action...whether in law or equity... against any Purchaser Party...or any claim...in connection

with or related to the Transaction, the Debtors, or the Acquired Assets. Jd. at § IV P 22

(emphasis added). Read together, Paragraphs 16 and 22 forever bar, estop, and permanently enjoin
entities like Plaintiff from commencing or continuing any judicial action against DOM, whether
in law or in equity, if the claims relate to the sale of BBBY’s intellectual assets.

Consequently, Plaintiff's entire Amended Complaint fails to assert any claims upon which
relief can be granted. Count One for breach of contract must be dismissed because it is premised
on an alleged breach of the NDA that was entered into in anticipation of submitting a bid at the
Section 363 sale, and the damages sought are a result of DOM purchasing the BBBY assets at the
Section 363 sale. Similarly, Count Two seeking attorneys’ fees, which is premised on the NDA
and breach of contract claim, equally fails. Additionally, Counts Three and Four should be
dismissed because unjust enrichment is an equitable claim and a constructive trust is an equitable

remedy—both of which claims are barred by Paragraph 22. Jd. Finally, Counts Five and Six

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should be dismissed because the additional claims rely on the same operative facts and are thus
barred by the Bankruptcy Order for the same reasons argued above.

B. Plaintiff’s Claims in the Amended Complaint are Untimely.

Plaintiff should have alleged a breach of the NDA against DOM during the bankruptcy
proceedings. Indeed, as a matter of public policy and judicial administration, Plaintiff was
compelled to do so given that the allegations here would have undermined and jeopardized the
sanctity of the Section 363 sale and could have changed the result if proven to be true. Plaintiff
can hardly argue that it was unaware of the Bankruptcy or the Sale — indeed, they are referred to
in the Amended Complaint directly.

It would undo the finality of the bankruptcy proceeding if parties were permitted to take
subsequent positions once a bankruptcy sale becomes final after failing to object or appeal to the
sale at the time of the bankruptcy. See In re Reinert, 597 Fed. Appx. 139, 141 (3d Cir. 2015)
(holding that debtor who never objected to sale or appealed could not take contrary position in
later state-court action). “Intrinsic fairness” and findings of a good faith purchaser evaluates “the
integrity of [the purchaser’s] conduct during the course of the sale proceedings; where there is a
lack of such integrity, a good faith finding may not be made.” Jn re Gucci, 126 F.3d 380, 390 (2d
Cir. 1997). “A purchaser’s good faith is lost by ‘fraud, collusion between the purchaser and other
bidders or the trustee, or an attempt to take grossly unfair advantage of other bidders.’” Jd.
(citations omitted). In short, an unsuccessful or “disqualified” bidder has standing to object in a
bankruptcy proceeding when the allegations could destroy the “intrinsic fairness” of the
bankruptcy sale by demonstrating there was not a good faith purchaser. See e.g., In re Colony Hill
Assocs., 111 F.3d 269, 274 (2d Cir. 1997).

To protect the debtor and maximize the value of its assets during a bankruptcy proceeding,

courts have given standing to those who do not make a bid at the Section 363 sale. See Candlewood

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Partners LLC v. Hedstrom Corp., No. 04 B 38543, 2008 WL 4542966, at *1-2 (N.D. Ill. Apr. 22,
2008) (affirming that claimant had standing to appeal based on nature of objection during
bankruptcy proceeding). There, the District Court discussed the effects of res judicata in the
subsequent state lawsuit against the successful bidder by reasoning that the claimant’s “ulterior
motives” highlighted how its failure to object to the sale undermined the finding of good faith in
a bankruptcy proceeding. Jd. at *3.

Here, Plaintiff failed to timely raise its claims against DOM. During the bankruptcy
proceeding, it received notice of the proceeding and was provided a forum, along with the other
bidders and potential bidders, to prove any collusion or bad faith by any potential bidders while
the Bankruptcy Court sorted out and allocated BBBY’s assets to maximize the value of those
assets. The “General Provisions” under Section I of the Bankruptcy Order provides, in relevant
part, that notice of the motion and sale hearing was adequate, appropriate, fair and equitable and
that the parties who did not object are deemed to have consented. Jd. at § I, [PP 2-3. Had Plaintiff
expressed its concerns, and if successful, the challenge could have vacated the sale and another
entity would have been awarded the bid. Instead, the Bankruptcy Court found that DOM operated
in good faith throughout the sale process. Jd. at § III |PP H-I. Specifically, the Bankruptcy Order
provides that “[n]either the Debtor nor the Purchaser has engaged in any conduct that would cause
or permit the APA or the Transaction to be avoided...” Indeed, “[t]he Purchaser has proceeded in
good faith in all respects in connection with the Transaction.” Jd. Likewise, Paragraph 23 in
Section IV found that the APA was entered into without collusion /d. at § IV |P 23.

Similar to the plaintiff in Candlewood Partners, Plaintiff had standing to object despite not
having made a bid or appearing on the list of potential buyers and these rights were protected by

Paragraph E or the Sale Order. /d. at §II, P E (“reasonable opportunity to object and be heard with

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respect to the Transaction, the Motion and the relief requested therein and provided in this Sale
Order has been afforded to all interested persons and entities...”); Candlewood Partners, 2008
WL 4542966, at *2. Likewise, Plaintiff's “ulterior motives” for bringing this lawsuit cannot be
overlooked given the need to separate related actions following the finding of good faith in a
bankruptcy sale proceeding. Id. at *3; In re Reinert, 597 Fed. Appx. at 141. The Bankruptcy Court
found that DOM operated in good faith while negotiating, proposing and entering into the APA
and that the APA was entered without collusion. Exhibit B, ECF Doc. No.1314, § III [PP H-L

As a matter of public policy, allowing Plaintiffs case to continue would circumvent and
undermine the validity of the Sale Order (and by extension, all other sale orders entered by
bankruptcy courts) because if Plaintiff's allegations were true, then the sale would be void and the
bankruptcy decision vacated. By untimely asserting claims that purportedly expose an unjust
circumvention by DOM during the sale process affects the rights and interests established by the
Bankruptcy Order would force the need for the Bankruptcy Court to structure a different
disposition. Brown Media Corp, 854 F.3d at 162. Accordingly, the Complaint should be dismissed
because the claims it asserts are barred by the Sale Order.

POINT I

DOM COULD NOT HAVE CAUSED ANY DAMAGES
BECAUSE PLAINTIFF DID NOT SUBMIT A BID AT THE
SECTION 363 SALE.

Irrespective of whether Plaintiff can prove that DOM breached the NDA, Plaintiff suffered
no harm if there is no causal link between DOM’s alleged misconduct and any damages Plaintiff
allegedly suffered. If Plaintiff's end game was to purchase BBBY’s intellectual property assets,
and Plaintiff did not submit a bid, it belies logic how any misconduct could have caused Plaintiff

damage when it was impossible for Plaintiff to have even been the successful bidder.

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Bankruptcy Courts have dismissed actions brought by a disappointed stalking horse bidder
when the complaint failed to allege how the defendant breached a “no contact” provision of an
NDA to have caused any damage to the debtor. In re Waypoint Leasing Holdings Ltd., 607 B.R.
143, 154 (Bankr. $.D.N.Y. 2019). There, the Bankruptcy Court reasoned that, even assuming the
alleged breach to be true, the allegations only speculated that those “contacts” deprived the debtor
of receiving competing bids for the assets and the additional value that those bids may have
realized. Jd. Similarly, the allegations failed to allege that plaintiff's bid was higher—as that
would be a critical piece of information in determining whether the debtor was damaged. Jd.
Equally implausible was that a third party would have made an offer higher and better than the
successful bidder when an alternative bid would have triggered a break-up fee and the overall
amount needed for the alternative bid to qualify as “higher and better” would have exceeded “the
bounds of wishful thinking.” /d.

Here, Plaintiff fails to set forth any facts showing how DOM’s bid caused Plaintiff any
damage. First, Plaintiff's Amended Complaint admits that Plaintiff did not submit a bid at the
auction — a critical fact in determining whether DOM caused Plaintiff any damages. Second, the
Amended Complaint contains no allegations as to the value or the actual amount Plaintiff intended
to bid for BBBY’s intellectual property assets if it had made a bid. Instead, the Amended
Complaint refers to DOM’s successful bid of $15.5 million without any reference to that or
comparison to the second highest bidder. Third, the Amended Complaint does not allege that there
were no other bidders, nor does it inform the Court that the second highest bid would have been
successful if DOM did not bid in alleged compliance with the NDA. Because Plaintiff alleges that
it did not submit a bid, and because the BBBY assets would have gone to the next highest bidder

if DOM did not submit a bid, Plaintiff cannot plausibly allege any damages flowing from DOM’s

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alleged breach of the NDA, or other conduct related to its bid, which support’s Plaintiffs claims.
Alleging that DOM’s conduct is continuous in nature by using its proprietary information to grow
BBBY’s assets is speculation and a desperate attempt at a last-ditch effort to raise questions of
fact. Concisely stated, Plaintiff's Complaint is fatally deficient because Plaintiff cannot show that
but for DOM’s bid (i.e., the alleged breach), Plaintiff would have obtained BBBY’s assets over
every other bidder. As Plaintiff cannot plausibly allege any damages caused by DOM to support
its claims, the Amended Complaint should be dismissed in its entirety.

CONCLUSION

For the foregoing reasons, DOM respectfully requests that the Court grants its motion to
dismiss because: (a) the claims in Plaintiff's Amended Complaint are barred by the Sale Order,
and (2) Plaintiff does not allege, and can never prove, that DOM caused it any damages because
Plaintiff did not bid at the Section 363 sale and the BBBY assets would have gone to the second
highest bidder if DOM was not successful.

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Dated: January 31, 2024

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